Case 5:17-cv-00097-EKD-JCH Document 45-1 Filed 03/21/18 Page 1 of 17 Pageid#: 496




                              EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Harrisonburg Division



   JOHN DOE 1, et al., by and through their
   next friend, NELSON LOPEZ,on behalf of
   themselves and all persons similarly situated,
                                                      CIVIL ACTION
          Plaintiffs,

   v.                                                 Case No.: 5:17-cv-00097-EKD

   SHENANDOAH VALLEY JUVENILE
   CENTER COMIVIISSION,                               Honorable Elizabeth K. Dillon

          Defendant.


                                            AFFIDAVIT
   COMMONWEALTH OF VIRGINIA
   COUNTY OF AUGUSTA:
          This day, Kelsey Wong, Program Director for Shenandoah Valley Juvenile Center
   Commission, appeared before the undersigned notary public and made oath to the following
   based on her personal knowledge:

          1.      I am employed as Program Director for Shenandoah Valley Juvenile Center
   Commission ("SVJC").
          2.      I am familiar with SVJC's policy and procedures governing the provision of
   services to minors, including unaccompanied alien children ("UAC")for the Office of Refugee
   Resettlement("ORR").
          3.      SVJC provides housing, education, and other services pursuant to three different
   groups of minors:
         (a)      SVJC provides secure housing, education, and other services for UAC in ORR
                  custody who require a secure environment.
         (b)      SVJC provides secure housing, education, and other services to juveniles from
                  member jurisdictions who have been charged with a crime but have not yet had
                  their cases adjudicated and juveniles who have been sentenced to detention.
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           (c)    SVJC provides housing, education, and other services to juveniles who have been
                  committed to the Community Placement Program ("CPP") by the Virginia
                  Department of Juvenile Justice. The CPP is a separate transitionary release
                  program that allows committed juveniles to be closer to their home communities
                  and reside in smaller rehabilitative settings before being released.
           4.     The populations described in Sections 3(a) and 3(b) attend the same educational
   programming and are subject to the same rules and restrictions required fora secure
   environment.
           5.     Due to the nature of the CPP program, minors in that program are subject to
   different programming rules that include desks in their rooms as well as the use of iPods and
   video games on their unit during the week.
           6.     The education services provided by SVJC are subject to the requirements of and
   monitoring by the Virginia Department of Education. For instance, all meals served by SVJC
   are subject to the same requirements as those served at local high schools.
           7..    The secure housing services provided by SVJC are subject to the requirements of
   and monitoring by the Virginia Department of Juvenile Justice.
           8.     For UAC, all services provided by SVJC are also subject to the requirements of
   and monitoring by ORR.
           9.     An orientation program is administered to newly-admitted residents prior to being
   assigned to a housing unit or room that includes the behavior management program, the
   grievance procedure, and the disciplinary process.
           10.    Each resident undergoes a mental health screening upon intake to ascertain the
   resident's suicide risk level and the need for a mental health assessment.
           11.    Each resident undergoes a mental health assessment by a mental health clinician
   following the screening.
           12.    ORR approves an evaluation by a psychologist for UAC who present with mental
   health concerns and who are anticipated to remain in ORR custody for a significant period of
   time.
           13.    Each UAC approved by ORR for an evaluation is typically reevaluated on an
   annual basis subject to ORR approval.
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          14.     UAC are provided with greater access to mental health treatment than juveniles in
   the local population due to ORR's heightened requirements. See ORR Policy Guide, Section 3.3
   Care Provider Required Services.
          15.     Three licensed professional counselors are dedicated to serving a population of up
   to 34 UAC, whereas only one full-time counselor serves an average local population of 11
   minors.
          16.     Each UAC meets with a clinician for one-on-one counseling at least once per
   week. Most UAC meet one-on-one with their clinician more than once per week.
          17.     Each UAC also attends two group counseling sessions per week with a clinician.
          18.     UAC have access to a psychiatrist through their mental health clinician. There is
   no limit on the number of appointments.
          19.     SVJC adheres to ORR's required ratio of one staff member for every six residents
   during waking hours. As such, each pod containing 10 rooms typically has two staff members
   present.
          20.     SVJC follows a behavior management policy that utilizes positive reinforcement
   to encourage good behavior by all residents, including UAC.
          21.     SVJC uses a system that awards points to UAC who fully participate in an activity
   and meet behavioral expectations.
          22.     UAC may earn either one point or zero points for each designated time period.
          23.     Points earned by a UAC may never be taken away.
          24.     A program and behavior log is maintained that includes a weekly record of the
   points earned by each UAC.
          25.     Points earned by a UAC may be used for a variety of privileges, including the
   SVJC shop, special visits, extra phone calls, movies, special events, and special meals.
          26.     Points are not required to obtain necessary items such as toothpaste and soap,
   which are already provided by SVJC. However, UAC may purchase name brand versions of
   many ofthose products by using points at the SVJC shop.
          27.     SVJC's regular school programming for UAC includes 45 minutes for physical
   education that is usually conducted in a full-size gym or outdoors in a courtyard.
          28.     In addition, UAC are given one hour for recreation activity in the evening on
   school days.
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             29.   UAC are provided three hours of structured leisure time and recreation time each
   day that there is no school, such as weekends and holidays.
             30.   Outdoor recreation is not available when the temperature is below 60 degrees or
   above 90 degrees, or when there is rain, snow, snow cover, or other conditions that threaten
   safety.
             31.   SVJC staff are required to conduct visual safety checks every 15 minutes while
   residents, including UAC, are in their rooms. Visual safety checks are required every five
   minutes if safety concerns are present.
             32.   The door for each UAC's room includes a window to allow SVJC to make visual
   safety checks as required.
             33.   About two-thirds of the door window is typically covered from the outside with a
   black material to provide UAC with as much privacy as possible without jeopardizing safety.
             34.   Any paper or other material used to block the remainder of the door window from
   the inside is removed by SVJC staff if a safety check cannot be performed.
             35.   For behavioral infractions, SVJC staff utilize a range of responses based upon the
   severity of the offense that range from verbal redirection to removal from daily school
   programming.
             36.   UAC may be removed from programming only when every possible alternative
   has been exhausted.
             37.   Residents, including UAC, who are removed from programming are placed in
   room confinement and reevaluated every four hours.
             38.   A disciplinary report describing the violation, listing any witnesses, and setting
   forth the sanction is required for every instance in which an earlier bedtime, removal from
   programming, or room confinement is imposed for a behavioral violation.
             39.   The resident is notified about the rule violation, provided with a copy of the
   disciplinary report, and given the opportunity to admit or deny the charge.
             40.   An administrative appeal process is available that includes the ability to call
   witnesses and present evidence and features two levels of review to be completed within 24
   hours ofthe alleged violation.
             41.   Room confinement is subject to the following restrictions:
             (a)   SVJC staff are required to visually check the UAC every 15 minutes.
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          (b)     SVJC staff are required to visually check the UAC every 5 minutes if the UAC is
                  on suicide watch or other safety concerns are present.
          (c)     UAC are afforded at least one hour of physical exercise each calendar day unless
                  the circumstances require an exception, which must be documented.
          (d)     Approval from SVJC's administrator or a designee is required before any UAC
                  may be confined to his or her room for more than 24 hours.
          (e)     Approval and a written report to SVJC's director or designee is required if any
                  resident, including any UAC, is confined to his or her room for more than 72
                  hours.
         (~       A UAC may not be confined to his or her room for more than five consecutive
                  days unless ordered by a medical provider.
          42.     A UAC's shirt and pants are removed only in instances where the UAC is using
   them to engage in self-harm. Both are returned once the UAC is behaving safely and the
   probability offurther self-harm appears unlikely.
          43.     SVJC observes the following practices with respect to removing a mattress from a
   UAC's room:
          (a)     The mattress is removed only in instances where the UAC has destroyed it or is
                  using it to engage in self-harm.
          (b)     The mattress is returned once the UAC is behaving safely and the probability of
                  further self-harm appears unlikely.
          (c)     When a UAC destroys their mattress, a replacement mattress is provided after the
                  UAC has calmed and is exhibiting safe behavior.
          (d)     A UAC may never be left in room overnight without a mattress.
          44.     SVJC adheres to a written policy governing the use force and restraints against
   residents, including UAC.
          45.     Any physical intervention that prevents a resident from moving any part of his or
   her body is considered a use offorce and physical restraint.
          46.     SVJC staff are required to use the least amount of force that is reasonably
   necessary to eliminate the risk at issue or to maintain security and order.
          47.     Physical restraint is used only when a resident's behavior would likely result in
   harm to themselves or others.
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           48.      Physical restraint is also used only as a last resort after less restrictive measures,
   including verbal intervention, have failed to control behavior that poses a safety risk to the
   resident or others.
           49.      Physical restraint is never used as a physical punishment.
           50.      A resident placed in a restraint may not be left alone or left in their room wearing
   the restraint.
           51.      Only SVJC staff who are trained in the proper and safe use of restraint may
   implement, monitor, or discontinue physical restraint.
           52.      Every instance where physical restraint is utilized is considered a significant
   incident that requires documentation ofthe following information in the resident's file:
          (a)       Date and time ofthe incident.
          (b)       Identification of staff involved.
          (c)       Justification for the restraint.
          (d)       Description of less restrictive measures that were unsuccessfully attempted.
          (e)       Description of restraint utilized and duration.
          (fl       Signatures from the person completing the report and the person reviewing the
                    report.
           53.      SVJC utilizes an emergency restraint chair as the final step of a progressive
   response to residents who are physically combative, self-destructive, or potentially violent when
   all other interventions have proven inadequate.
           54.      The following restrictions apply in every instance where the chair is utilized:
          (a)       The chair is used only for justifiable protection ofthe resident or others.
          (b)       Like all other physical restraint, the chair is never applied as punishment.
          (c)       Every use ofthe chair is documented.
          (d)       Every use of the chair requires prior approval from SVJC administrative staff
                    when possible or immediately upon using the chair in an emergency situation.
          (e)       Only SVJC staff who are trained by the Department of Juvenile Justice in use of
                    the chair may apply the restraints.
          (~        The use of the chair is avoided if at all possible for residents with self-injurious
                    behavior.
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         (g)      The resident must be removed from the chair as soon as the behavior of the
                  resident indicates that it is safe to do so.
         (h)      While in the chair, SVJC staff ensure that the resident is reasonably comfortable
                  and has access to water, meals, and the bathroom.
          (i)     No resident may be kept in the chair for more than two hours cumulatively in any
                 24-hour period.
          (j)     SVJC staff must maintain constant visual supervision while a resident is in the
                  chair.
         (k)      SVJC staff are trained by a licensed nurse to monitor for any injuries resulting
                 from the use of the chair.
          55.     SVJC utilizes a team approach in any physical intervention and avoids one-on-
   one scenarios whenever possible.
          56.     SVJC are directed to keep physical contact with residents of any kind to a
   minimum.
          57.     SVJC staff who use force in excess of what is necessary, including any force that
   is punitive or retaliatory, are subject to immediate dismissal and the filing of a child abuse
   complaint by SVJC with the Department of Social Services.
          58.     SVJC staff are trained and required to report any instance of physical assault or
   physical abuse of a resident to Child Protective Services.
          59.     SVJC staff receive training on the restraint policy, procedures, and techniques
   annually in a course of instruction approved by the Virginia Department of Juvenile Justice.
          60.     Employees of the Valley Community Service Board have offices within SVJC
   and regularly encounter and interact with residents and SVJC staff.
          61.     I was previously employed as a case manager for SVJC before being promoted to
   my current position.
          62.     I was the case manager for R.B.("R.B.").
          63.     As his case manager, I supervised and oversaw all aspects of R.B.'s care and
   placement at SVJC.
          64.     I am a custodian of and have access to R.B.'s case file in the performance of my
   employment responsibilities.
          65.     All records referenced by and attached to this affidavit:
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           (a)    Are true, accurate, and complete copies of records regularly maintained by SVJC
                  as part of R.B.'s case file in the ordinary course of business;
           (b)    Are made at or near the time ofthe actions and events described therein;
           (c)    Are prepared using information provided by persons with knowledge of the
                  actions and events described therein; and
           (d)    Are made and maintained as a regular practice by SVJC.
           66.    R.B. was transferred to SVJC due to his destructive and aggressive behavior (he
   assaulted others and started a fire) while residing at Sandy Pines Residential Treatment Center
   located in Florida.
           67.    During his assessment, R.B. disclosed that he began working with the Mexican
   Mafia Cartel when he was 14. He trafficked people and guns across the border.
           68.    R.B. reported that he shot a man in Mexico, which he later recanted.
           69.    R.B. had an extensive juvenile criminal record.
           70.    R.B. reported that he had received prior mental health treatment for ADHD and
   bipolar disorder, as well as at other placement centers. R.B. also reported seeing shadows in his
   room.
           71.    While at SVJC, R.B. received a psychological assessment and evaluation by Dr.
   Gustavo Rife on June 15, 2014.
           72.    R.B. was evaluated and treated on a regular basis by psychiatrist Timothy J. Kane,
   M.D., starting on June 25, 2014,for approximately five occasions while at SVJC.
           73.    R.B. was diagnosed with post-traumatic stress disorder ("PTSD") and attention
   deficit hyperactivity disorder ("ADHD").        Dr. Kane noted that R.B. had PTSD related
   nightmares and hallucinations.
           74.    R.B. was prescribed Prozac, Minipress, Risperdal, and Adderall.
           75.    R.B. participated in weekly individual counseling sessions and bi-weekly group
   counseling sessions with a mental health clinician from June 13, 2014, until his discharge from
   SVJC on October 10, 2014.
           76.    R.B. participated in daily educational classes from June l3, 2014, until his
   discharge from SVJC on October 10, 2014.
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           77.     R.B. participated in recreation and leisure activities for one hour of each day that
    was a school day and three hours on the weekends and holidays from June 13, 2014, until his
    discharge from SVJC on October 10, 2014.
           78.     A copy of a report from R.B.'s file is attached as Exhibit A-1 that may relate to
    R.B.'s allegations concerning room restriction. As stated in the report:
           (a)     R.B. escaped from custody on October 1, 2014.               While returning from a
                   psychiatric appointment with Dr. Kane, R.B. cut his restraints and kicked open the
                   back ofthe van while stopped at a traffic light.
           (b)     Later that day, R.B. was apprehended by the police and returned to SVJC.
           (c)     R.B. was restricted to his room and placed on an Intensive Watch.
           79.     A copy of a report from R.B.'s file is attached as Exhibit A-2 that may relate to
    R.B.'s allegations concerning room restriction. As stated in the report:
           (a)     On October 8, 2014, R.B began shifting in his seat, moving his legs, and touching
                   his groin area several times while being interviewed by Program Manager
                   Cristina Casada
           (b)     Sensing tension, Ms. Casado ended the interview and attempted to walk out ofthe
                   office.
           (c)     As she stood, R.B. grabbed her from behind, wrapping his hand around her mouth
                   and pulling her into the office.
           (d)     Ms. Casado was able to escape from his hold, open the door, and call for help.
           (e)     At that point, R.B. calmly walked out of the office.
           (~      While being taken to his room, R.B. stated that "I got mad and hit her."
           80.     SVJC has no record of R.B. being involved in any fights with staff or other
    minors.
           81.     While at SVJC, R.B. reported suicidal ideation on September 18, 2014,
    September 26, 2014, and September 29, 2014.
           82.     R.B. was on intensive watch throughout his placement at SVJC.
           83.     On September 29, 2014, intensive watch protocols were followed to ensure R.B.'s
    safety and the clinician made an appointment for R.B. to see Dr. Kane on October 1, 2014.
           84.     Any use of the emergency restraint chair must be documented and approved by
    the SVJC's administration.
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            85.     R.B. was never placed in the emergency restraint chair at any time while he
     resided at SVJC.
            86.     A spit mask was never placed upon R.B. at any time while he resided at SVJC.
            87.     R.B. had a child advocate to whom he spoke by telephone or email.
            88.     R.B. spoke with his pro bono immigration attorney, as well as a criminal defense
     attorney related to charges in Texas.
            89.     Neither R.B. nor his representatives raised the allegations described in his
     Declaration to SVJC at any time.
            90.     On October 10, 2014, R.B. was transferred from SVJC to Northern Virginia
     Juvenile Detention Center due to his escalating behavior and assault on Program Manager
     Cristina Casado.



                                                        Kelsey Wong



     Subscribed and sworn before me this~~~ day of March 2018 by Kelsey Wong        ;
                                                                                    `••`,,ENE
                                                                                            .E: yid,'•z
                                                                                     Q~P,-Np1~RY''•.,~
     My commission expires       '~ ll ~~
                                                                                        • REGP~jgga5...~
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     Notary Registration No.        ~p~~(~ b                                            ? MY Con"'~'~Ss~o~
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                                                                                                                                                                    EXHIBR
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                                                                                  l :~C R~,ic Information
       ~~.


Last Name:

AICA:
Status:                     ADMITTm
Date of Birth:                                                                               Gender:                       M
Alien No.:                  205814408                                                        LOS:                          111
Age:                        IS                                                               Current Program:              Shenandoah Valley Juvenile Center
Country of Birth:           Guatemala                                                         Admitted Date:               6/13/2014




Date of Incident:           10/1/014                                                         Time of Incident:             04:10 PM
Incident Reported Date:     ]0/2/2014                                                        Incident Repm•ted Time:       09:35 AM
Location Of Incident:       On TranspoR
Incident Type:
Unauthorized Absence:       r Runaway
                            r Unauthorized AttempdRunaway Risk
                            fUnauthorized Absence ofUAC (foster care)
Abuse Allegation: Typc of   r PhysiC21 Abuse                                                 Abuse Allegation: Alleged     —Select Abuse Allegation Type —
Abuse                                                                                        Perpetrator
                            r Sexual Abuse
                            fVerbal Abuse
                            r Child Neglect
                            r Other Abuse
UAC Behavior:               fPhysical Aggression                    r Incident Requiring Isolation          r Sexual Assault             r Hazen to Staff
                            fInappropriate Sexual Behavior          r Sexual Hann to other UAC              r Physical Harm to Other UAC r Verbal Aggression
                            f" Possession/[Jse of Weapon          r Hazen to Self                r Disruprive Behavior                   r Suicide Ideation/Gesture/Attempt
                            r Arrest and/or Incarceration ofa UAC r PossessioNUse ofDmgs/Alcohol r Restraint ofUAC
Medical/Mental Heal[h:      r j~y~ Of UAC
                            r Mental Health Emergency
                            r Injury Requiring Medical Attention
                            r UAC Pregnant
                            r Childbirth
                            r Medication Issue
ocher.                      ~" Suspected Smuggling/trafficking Concern
                            I— Incident Involving Community Membzrs
                            r Incident Involving Media
                             r'Incident Involving Pofice
                                                     __                                                         _                 _        ___
Synopsis of Incident:       On 10/01/14,UAC                                  had a psychiatric appoinhnent for medication management with Dr. Timothy Kane. Upon return from the
                            appointinent,the transport van was stopped at a red light ffi appro~cimately 4:l OPM. While stopped at the light, UAC                        cut the soft
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                           restraints with medical scissors from the first aid kit in the back ofthe van. Once released from the soft restraints, UAC                              kicked the back
                           window out ofthe van and ran south down the street. At approximately 4:59PM,UAC                                          was arrested by the Staunton Police
                           Departrnent and transported back to the Shenandoah Valley Juvenile Center without further incident
Witnesses:                  Mr. Simrrtons,Transportahion Officer Mr. Deola,Transportation Officer
Staff Response and         ,es soon as UAC                                absconded,the transportation officers called the SVJC Program Manager and the Augusta County Sheriff's Office to
Intervention:              report the run away. Once the police was notified,the transportation officers infoaned the Shift Supervisors and the ORR/DCS team at SVJC. Lead Case Manager,
                           Kelsey Wong,informed FFS Supervisor,David Fink,and Deportation Officer, Jim Schubert,ofUAC                                         absence. Additionally, Lead
                           Case Manager,Kelsey Wong,informed UAC's Child Advocate,Shalyn Fluharty, ofthe incident Upon UAC                                           return to SVJC,Case
                           Manager and Clinician met with the minor.
Resolution and Fouow-up: In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UAC                                   will be restricted to his room for
                         losing all ofhis behavioral levels for absconding and deshuction ofproperty. UAC's Clinician,Andrew Mayles, will continue to follow up with UAC and his mental
                         health status. UAC will remain on Intensive Watch.
xecommendacions:           It is recommended that UAC continue to receive case management, mental health, legal and medical services.
4ceual or Expected Media
                           No actual or expected media interest.
Imerest.
Persons/Aeencv or Relationship to UAC
                          Contact Name                                                 Agency                            Phone No.                       Date                     Time
                                                                                                                                                                         09:35
DUCS Hotline                                                          sirhotlin r~ fhhs gov                                                     10/2/2014
                                                                                                                                                                         AM
                                                                                                                                                                         09:35
David Fink                                                            FFS Supervisor                                   2025073294               10/2/2014
                                                                                                                                                                         AM
                                                                                                                                                                         09:35
Jim Schenlenberg                 i                                    Project Officer                                  2024011196               ]0/2/2014

                                                                                                                                                                         09:35
Mark Bennett                                                           Contract Field Specialist                       2022605738               10/2/~O l 4
                                                                                                                                                                         AM
                                                                                                                                                                         ~~35
PatriciaMelendres                                                      Case Coordinator                                7035876557               10/2/2014
                                                                                                                                                                         AM
DHS/ICE Office with Jurisdiction over Minor Involved
Name:                      py~'j'~pp
Tide:                       DHS/JC
Contact Number:             7035689665
Person Filing Report
Name:                       Kelsey Wong
T~~~e~                      Case Manager
Contact Number:             5408860729
Contact for Follow-up
Name:                       Kelsey Won,
Tide:                       Case Manager
Contact Number:             5408860729
Approving Supervisor
Name:                       CiiStina Casado
Title:                      QjZjj/j~$ ~'og[2Cn M2i12f*Zi
Contact Number:             5408860729
User Notes:
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SIR Addendum Notes:
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                                                                                                                                                               EXHIBIT
                                                                                                                                                                     ~~~-~,




First Name:


Last Name:


AK4:
Status:                     ADMITTED
Date of Birth:                                                                             Gender:                    M
Alien Na.:                  20814408                                                       LOS:                       117
Age:                        IS                                                             Current Program:           Shenandoah Valley Juvenile Center
Country of Birth:           Guatemala                                                      Admitted Date:             6/13/2014




Date of Incident:           10/8/2014                                                     Time of Incident:           0420 PM
Incident Reported Date:     10/8/2014                                                     Incident Reported Time:     06:15 PM
Location Of Incident:       C35C M2na~e~'s Office
Incident Type:
Unauthorized Absence:       rRUnaway
                            r Unauthorized Attempt/Runaway Risk
                            r Unauthorized Absence ofUAC(foster care)
Abuse Allegation: Type of   r Physical Abuse                                              Abuse nllegacion: Alleged   —Select Abuse Allegation Type —
Abuse                                                                                     Perpetrator
                            r Seatual Abuse
                            r Verbal Abuse
                            r Child Neglect
                            r Other Abuse
                                           __                                               -                                    ---
UAC Behavior:               r physical Aggression                 A Incident Requiring Isolation     r Sexua! Assault             I~ Harm to Staff
                            r Inappropriate Sexual Behavior       r Sexual Hazen to other UAC        r Physical Harm to Other UAC r Verbal Aggression
                            t- Possession/CTse of Weapon          I'Hazen to Self                     R Disruptive Behavior          1-Suicide Ideation/Geshue/Attempt
                            r Arrest and/or Incarceration ofa UAC I'"Possession/Use ofDrugs/Alcohol r Restraint ofUAC
                                                                                                                     -_
 Medical/~tentalHealth:      rj~y~OfUAC
                            r Mental Health Emergency
                            r Injury Regwring Medical Attention
                             r UAC Pregnant
                             r Childbirth
                             r Medication Issue
Ocher:                      r'Suspected Smugglin~I'rafficking Concern
                            r Incident Involving Community Memlxrs
                            r Incident Involving Media
                            f"Incident Involving Police
                                                                                                                                                                       __ —_
Synopsis of Incident:       On 10/08/14 at 420PM,UAC                                was interviewed by ORR/DCS Program Manager,Cristina Casado. During the interview, UAC
                                                    reports,"I have nothing to lose," when describing his attempt to ruo away from SVJC Secure. During the interview, UAC
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                                                  remained calm, however, he began shifting in his seat, moving lus legs and touching his groin azea several times. As Ms. Casado could detect     i
                              tension,she ended the interview quickly and attempted to walk out ofthe office. As she stood up, UAC                                   grabbed her from beMnd,
                              wrapping his hand azound her mouth and pulling her towazds the office. At this time, Ms. Casado was able to escape from his hold, push the office door open and yell
                              for help. Once Ms. Casado yelled for help, UAC                                 walked out ofthe office calmly. While being escorted to his room,UAC
                                                  repotted to the Shift Supervisor,"I got mad and hit her." UAC                                entered his room without fiuther incident
Wimesses:                     Cristina Casado,ORR/DCS Program Manager Mr. Neilson, Shift Supervisor                                                                                                           I
Staff response and            pn 10/08/14 at 420PM,ORR/DCS Program Manager, Cristina Casado, met with UAC                                           i. As Ms. Casado detected tension,she ended
Interveneion:                 the interview quickly and attempted to walk out ofthe office. As she stood up, UAC                                dabbed her from behind, wrapping his hand
                              around her mouth and pulling her towards the office. Atthis time, Ms. Casado was able to escape from his hold, push the office door open and yell for help. Shift
                              Supervisor, Mr. Neilson,responded to the yelling promptly and escorted UAC                                 to his room without further incident
resolution and Follow-up: ~ ~~rdance with the Shenandoah Valley Juvenile Center's behavioral management policy, UAC                                              will be restricted to his room for
                           losing all ofhis behavioral levels for disrespect to staff; threatening staff, and assaulting staff.
aecommendacions:           Due to the minor's escalating behavior at SVJC, we aze requesting a lateral transfer to another secure facility. Incident will be staffed with UAC's clinician, Andrew
                           Mayles. It is recommended that UAC continue to receive case management, mental health, legal and medical service.
Actual or Expected Media
Interesr.                  No actual or expected media interest.
                                                                                                                                                                                                   _.......
Persons/Aeencv or Relationship to UAC
                             Contact Name                                                       Agency                               Phone No.                    Date                      Time
                                                                                                                                                                                  06:15
DUCS Hotline                                                                sirhotline~a acfhhs.gov                                                     10/8/2014
                                                                                                                                                                                  PM
                                                                                                                                                                                  06:15
David Fink                                                                  FFS Supervisor                                    2025073294                IO/S/2014
                                                                                                                                                                                  PM
                                                                                                                                                                                  06:15
Mark Be~mett                                                                Contract Field Specialist                         2022605738                10/8/014
                                                                                                                                                                                  PM

                                                                            Project Officer                                   2024011196                10/8/2014                 ~ 15
Jim Schenkenberg
                                                                                                                                                                                  PM
                                                                                                                                                                                  06: I S
Patricia Melendres                                                          Case Coordinator                                  7035876557                10/8/2014
                                                                                                                                                                                  PM
DHS/ICE Office with Jurisdiction over Minor Involved
Name:                      Paul Tnunp
Title:                        DHS/JC
Contact Number:               7035686557
Person Filing Repor[
Name:                         Kelsey Wong
'title:                       Case Manager
Contact Number:               5408860729
Contact for Follow-up
Name:                         Kelsey Wong
Title:                        Case Manager
Contact Number:               5408860729
Approving Supervisor
Name:                         Cnstina C252do
Title:                        ORR/DCS Program Manager
Contact Number:               5408860729
     Case 5:17-cv-00097-EKD-JCH Document 45-1 Filed 03/21/18 Page 17 of 17 Pageid#: 512




User Notes:
SIR Addendum Notes:
